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Según su convenio de préstamo, depositamos parte de su pago hipotecario mensual en una cuenta de depósito en garantía
para pagar sus impuestos sobre la propiedad y primas del seguro. Durante el año, efectuamos pagos desde su cuenta de
depósito en garantía cuando vencen facturas de impuestos y seguro. Si sus facturas de impuestos o seguro aumentan o
disminuyen, también cambiará la cantidad que debe pagar en su cuenta de depósito en garantía para cubrir estas obligaciones.
Esta notificación describe cualquier cambio necesario en su pago hipotecario mensual para mantener dinero suficiente en su
cuenta de depósito en garantía para el pago de dichas facturas. La información detallada en esta notificación explica cómo se
calcula su nuevo pago de depósito en garantía.

Si este es su primer estado de cuenta de depósito en garantía posterior a la presentación de quiebra del Capítulo
13, realizamos esta revisión de cuentas de depósito en garantía a la fecha de solicitud de quiebra y actualizamos el nuevo pago
mensual de depósito en garantía conforme a las leyes de quiebra vigentes. Si usted recibió anteriormente un cupón mensual
para la misma fecha de vencimiento, la cantidad de pago que se indica a continuación reemplaza dicho cupón, el cual fue
preparado antes de que recibiéramos la notificación de su presentación de quiebra del Capítulo 13.
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                                                     Cantidad del Nuevo Pago
                     Su pago hipotecario mensual total cambiará a partir del 09/01/2024.


                                                Análisis Previo                Nuevo Pago                                  Nuevo Pago Mensual
                                                              Prior Analysis           New Payment


Capital y/o intereses                                 $1,350.16                  $1,350.16
                                                              Prior Analysis                 New Payment




Pago Mensual de Depósito en Garantía                 *$1,079.39                   $783.16
                                                              Prior Analysis           New Payment


 Impuesto                                               $444.73
                                                              Prior Analysis
                                                                                   $459.66
                                                                                       New Payment
                                                                                                                              r det ails   $2,133.32
 Seguro                                                 $614.83                    $323.50                 Consulte la Sección de Pagos de Depósito en Garantía
                                                              Prior Analysis           New Payment


 Seguro Hipotecario                                        $0.00                     $0.00                           Proyectados para obtener detalles
                                                              Prior Analysis           New Payment


 Depósito en Garantía Mensual:                            $19.83                     $0.00
 Ajuste de Excedente/Faltante                                 Prior Analysis           New Payment


Cantidad de Pago Total                                $2,429.55                  $2,133.32


*La cantidad del Pago de Depósito en Garantía del Análisis Previo es a la fecha del último análisis de depósito en garantía y no refleja el ajuste del
pago realizado si el faltante del depósito en garantía del año pasado se pagó en su totalidad.
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                                                                                                                  Historial de Depósitos en Garantía
A continuación, se describe lo que pasó en su cuenta de depósito en garantía desde nuestra última revisión, en comparación con lo
que proyectamos que sucedería. Si hay cambios en sus impuestos y/o seguro, aparecerán en imprenta oscura y resaltados a
continuación. Esto debería ayudar a explicar por qué no había suficientes fondos en su cuenta de depósito en garantía para cubrir
los impuestos y el seguro este año pasado. Hemos marcado sus saldos mínimos más bajos con un asterisco (*). Los depósitos en
su Depósito en Garantía se suman y se muestran como una cantidad total para el mes.

Si usted presentó recientemente una solicitud de quiebra del Capítulo 13, hemos proporcionado a continuación una
comparación lado a lado de la actividad anteriormente proyectada de su cuenta de depósito en garantía con la
actividad real de la cuenta.


Si este es un estado de cuenta de depósito en garantía anual proporcionado durante su quiebra del Capítulo 13, la
actividad proyectada de la cuenta de depósito en garantía que se incluye a continuación ha sido elaborada conforme a los términos
de su plan del Capítulo 13. La actividad de la cuenta de depósito en garantía incluye la recepción de sus pagos hipotecarios
mensuales regulares para depósito en garantía y todos los pagos de corrección efectuados en virtud de los términos de su plan del
Capítulo 13 para cantidades de depósito en garantía adeudadas correspondientes al período anterior a su presentación de quiebra
o que venzan de otro modo en virtud de su plan del Capítulo 13. El cuadro que consta a continuación refleja la actividad del plan y
su actividad real para el próximo año. Si usted no puede completar los pagos de su plan del Capítulo 13 y su caso se desestima o
se convierte a un Capítulo 7, o bien si se elimina la suspensión automática, la actividad reflejada en el cuadro que consta a
continuación se utilizará para realizar su próximo análisis de depósito en garantía.

            Depósitos en el Depósito en Garantía                                                                           Pagos por Medio del Depósito en                                                                                                                                                                                                        Saldos del Depósito en
                                                                                                                           Garantía                                                                                                                                                                                                                               Garantía
      Mes   Depósitos en                          Pago Previsto                                       Descripción          Lo que                                                                                          Lo que                                                                                                                   Descripción    Saldo Real                Saldo
            el Depósito en                        en el Depósito                                                           Pagamos Por                                                                                     Esperábamos                                                                                                                                                       Estimado del
            Garantía                              en Garantía                                                              Medio del                                                                                       Pagar Por                                                                                                                                                         Ultimo Año
                                                                                                                           Depósito en                                                                                     Medio del
                                                                                                                           Garantía                                                                                        Depósito en
Mes                 Depósitos en el depósito en          Pago previsto en el depósito en garantía                               Lo que pagamos por medio del depósito en
                                                                                                                                                                                                                           Garantía
                                                                                                                                                                                                                             Lo que esperábamos pagar por medio del depósito en                                                                Descripción                      Saldo real            Saldo estimado del último
                                                                                                                                                                                                                                                                       garantía




Mes                 Depósitos en el depósito en       Pagos Esperados en el Depósito en Garantía
                                                                                                    Descripción

                                                                                                    Descripción                 Lo que pagamos por medio del depósito en                                                     Lo que esperábamos pagar por medio del depósito en
                                                                                                                                                                                                                                                                                                                                               Saldo inicial
                                                                                                                                                                                                                                                                                                                                               Descripción
                                                                                                                                                                                                                                                                                                                                                                     -$27,523.56Saldo Real
                                                                                                                                                                                                                                                                                                                                                                                                $5,297.91
                                                                                                                                                                                                                                                                                                                                                                                                      Saldo estimado del último
                                                                                                                                                                                                                                                                       garantía


 09/2023
Mes                 Depósitos en el depósito en
                                                          $1,059.56 Depósito
                                                      Pagos Esperados en el Depósito en Garantía    Descripción                 Lo que pagamos por medio del depósito en                                                     Lo que esperábamos pagar por medio del depósito en                                                                Descripción
                                                                                                                                                                                                                                                                                                                                                                      -$27,523.56
                                                                                                                                                                                                                                                                                                                                                                                Saldo Real
                                                                                                                                                                                                                                                                                                                                                                                                 $6,357.47
                                                                                                                                                                                                                                                                                                                                                                                                      Saldo estimado del último
                                                                                                                                                                                                                                                                       garantía


 10/2023
Mes
                 $3,104.85
                    Depósitos en el depósito en
                                                          $1,059.56 Depósito
                                                      Pagos Esperados en el Depósito en Garantía    Descripción                 Lo que pagamos por medio del depósito en                                                     Lo que esperábamos pagar por medio del depósito en                                                                Descripción
                                                                                                                                                                                                                                                                                                                                                                      -$24,418.71
                                                                                                                                                                                                                                                                                                                                                                                Saldo Real
                                                                                                                                                                                                                                                                                                                                                                                                 $7,417.03
                                                                                                                                                                                                                                                                                                                                                                                                      Saldo estimado del último
                                                                                                                                                                                                                                                                       garantía


 11/2023         $1,034.95                                $1,059.56 Depósito                                                    $5,515.96                                                                                                      $5,336.81 Impuesto del                                                                                               -$28,899.72*                 $3,139.78
Mes                 Depósitos en el depósito en       Pagos Esperados en el Depósito en Garantía    Descripción                 Lo que pagamos por medio del depósito en
                                                                                                                                                                                                                                                         condado
                                                                                                                                                                                                                             Lo que esperábamos pagar por medio del depósito en                                                                Descripción                      Saldo Real            Saldo estimado del último
                                                                                                                                                                                                                                                                       garantía


 12/2023
Mes
                 $2,094.96
                    Depósitos en el depósito en
                                                          $1,059.56
                                                      Pagos Esperados en el Depósito en Garantía
                                                                                                    Depósito
                                                                                                    Descripción                 Lo que pagamos por medio del depósito en                                                     Lo que esperábamos pagar por medio del depósito en                                                                Descripción
                                                                                                                                                                                                                                                                                                                                                                     -$26,804.76Saldo Real
                                                                                                                                                                                                                                                                                                                                                                                                $4,199.34
                                                                                                                                                                                                                                                                                                                                                                                                      Saldo estimado del último
                                                                                                                                                                                                                                                                       garantía


 01/2024
Mes
                 $3,071.04
                    Depósitos en el depósito en
                                                          $1,059.56
                                                      Pagos Esperados en el Depósito en Garantía
                                                                                                    Depósito
                                                                                                    Descripción                 Lo que pagamos por medio del depósito en                                                     Lo que esperábamos pagar por medio del depósito en                                                                Descripción
                                                                                                                                                                                                                                                                                                                                                                     -$23,733.72Saldo Real
                                                                                                                                                                                                                                                                                                                                                                                                $5,258.90
                                                                                                                                                                                                                                                                                                                                                                                                      Saldo estimado del último
                                                                                                                                                                                                                                                                       garantía


 02/2024
Mes
                 $3,072.34
                    Depósitos en el depósito en
                                                          $1,059.56
                                                      Pagos Esperados en el Depósito en Garantía
                                                                                                    Depósito
                                                                                                    Descripción                 Lo que pagamos por medio del depósito en                                                     Lo que esperábamos pagar por medio del depósito en                                                                Descripción
                                                                                                                                                                                                                                                                                                                                                                     -$20,661.38Saldo Real
                                                                                                                                                                                                                                                                                                                                                                                                $6,318.46
                                                                                                                                                                                                                                                                                                                                                                                                      Saldo estimado del último
                                                                                                                                                                                                                                                                       garantía


 03/2024
Mes
                 $1,952.16
                    Depósitos en el depósito en
                                                          $1,059.56
                                                      Pagos Esperados en el Depósito en Garantía
                                                                                                    Depósito
                                                                                                    Descripción                 Lo que pagamos por medio del depósito en                                                     Lo que esperábamos pagar por medio del depósito en                                                                Descripción
                                                                                                                                                                                                                                                                                                                                                                     -$18,709.22Saldo Real
                                                                                                                                                                                                                                                                                                                                                                                                $7,378.02
                                                                                                                                                                                                                                                                                                                                                                                                      Saldo estimado del último
                                                                                                                                                                                                                                                                       garantía


 04/2024
Mes
                 $1,952.16
                    Depósitos en el depósito en
                                                          $1,059.56
                                                      Pagos Esperados en el Depósito en Garantía
                                                                                                    Depósito
                                                                                                    Descripción                 Lo que pagamos por medio del depósito en                                                    <TH_Pagos por medio del depósito en garantía>Lo que                                                                Descripción
                                                                                                                                                                                                                                                                                                                                                                     -$16,757.06Saldo Real
                                                                                                                                                                                                                                                                                                                                                                                                $8,437.58
                                                                                                                                                                                                                                                                                                                                                                                                   Last Years Estimated Balance
                                                                                                                                                                                                                            esperábamos pagar por medio del depósito en garantía


 05/2024          $976.08                                 $1,059.56                                 Depósito                                                                                                                                   $7,378.00 Seguro para                                                                                                 -$15,780.98               $2,119.14*
                                                                                                                                                                                                                                                         propietarios de
Mes                 Depósitos en el depósito en       Pagos Esperados en el Depósito en Garantía    Descripción                 Lo que pagamos por medio del depósito en
                                                                                                                                                                                                                                                         casas
                                                                                                                                                                                                                             Lo que esperábamos pagar por medio del depósito en                                                                Descripción                      Saldo Real            Saldo estimado del último
                                                                                                                                                                                                                                                                       garantía


 06/2024         $1,952.16                                $1,059.56 Depósito                                                    $2,909.00                                                                                                                Seguro para                                                                                                 -$16,737.82                 $3,178.70
                                                                                                                                                                                                                                                         propietarios de
Mes                 Depósitos en el depósito en       Pagos Esperados en el Depósito en Garantía    Descripción                 Lo que pagamos por medio del depósito en
                                                                                                                                                                                                                                                         casas
                                                                                                                                                                                                                             Lo que esperábamos pagar por medio del depósito en                                                                Descripción                      Saldo Real            Saldo estimado del último
                                                                                                                                                                                                                                                                       garantía


 06/2024                                                                                                                        $3,882.00                                                                                                                Seguro para                                                                                                 -$20,619.82                 $3,178.70
                                                                                                                                                                                                                                                         propietarios de
Mes                 Depósitos en el depósito en       Pagos Esperados en el Depósito en Garantía    Descripción                 Lo que pagamos por medio del depósito en
                                                                                                                                                                                                                                                         casas
                                                                                                                                                                                                                             Lo que esperábamos pagar por medio del depósito en                                                                Descripción                      Saldo Real            Saldo estimado del último
                                                                                                                                                                                                                                                                       garantía


 07/2024        $24,770.23                             $1,059.56 Pago(s) esperado                                                                                                                                                                                                                                                                                      $4,150.41                 $4,238.26
Mes                 Depósitos en el depósito en
                                                                 aún no recibido
                                                      Pagos Esperados en el Depósito en Garantía    Descripción                 Lo que pagamos por medio del depósito en                                                     Lo que esperábamos pagar por medio del depósito en                                                                Descripción                      Saldo Real            Saldo estimado del último
                                                                                                                                                                                                                                                                       garantía


 08/2024         $1,079.39                             $1,059.56 Pago(s) esperado                                                                                                                                                                                                                                                                                      $5,229.80                 $5,297.82
Mes                 Depósitos en el depósito en
                                                                 aún no recibido
                                                         Pago previsto en el depósito en garantía   Descripción                  <T H_Pagos por medio del depósito en gar antía>Lo que pagamos por medio del depósito en        <T H_Pagos por medio del depósito en gar antía>Lo que esper ábamos pagar por medio del depósito en gar antía
                                                                                                                                                                                                                                                                                                                                               Descripción                      Saldo Real            Saldo estimado del último



TOTAL          $45,060.32                            $12,714.72                                                                $12,306.96                                                                                           $12,714.81 Saldo final                                                                                                            $5,229.80                 $5,297.82
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Resumen de Transacciones del Depósito en                                                Reales                Previstas
Garantía
R esumen de tr ansacciones del depósito en gar antía                                                 Reales                Previst as




Depósitos Totales en el Depósito en                                                        $45,060.32            $12,714.72
Garantía
R esumen de tr ansacciones del depósito en gar antía                                                 Reales                Previst as




Depositos mensuales
R esumen de tr ansacciones del depósito en gar antía
                                                                                            $45,060.32
                                                                                                     Reales
                                                                                                                  $12,714.72
                                                                                                                           Previst as




Pagos Totales Por Medio del Depósito en                                                    $12,306.96            $12,714.81
Garantía
R esumen de tr ansacciones del depósito en gar antía                                                 Reales                Previst as




Seguro
R esumen de tr ansacciones del depósito en gar antía
                                                                                             $6,791.00
                                                                                                     Reales
                                                                                                                   $7,378.00
                                                                                                                           Previst as




Impuestos                                                                                    $5,515.96             $5,336.81

Esta estimación da por sentado que usted hará los pagos previstos que se muestran anteriormente.
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                                                                      Pagos Proyectados del Depósito en Garantía
A continuación, consta un resumen de lo que prevemos que suceda en su cuenta de depósito en garantía el próximo año.
Utilizamos esta información para calcular su nuevo pago mensual.

                          Seguro para propietarios de casas                                                                                                 $3,882.00
                          Impuesto del Condado                                                                                                              $5,515.96
                          Total Previsto de Desembolsos de Depósito en
                          Garantía:                                                                                                                        $9,397.96
Para calcular su pago de depósito en garantía mensual, sumamos el total de pagos previstos de impuestos y/o seguro y lo
dividimos por 12 meses: $9,397.96 /12 = $783.16.

       Sus pagos estimados de la cuenta de depósito en garantía en los próximos 12 meses
Dado que el pago hipotecario está atrasado, todos los pagos entre su último pago y la fecha de este análisis de 07/23/2024 se
reflejan como un pago global que se muestra en la tabla anterior. Los saldos a los que se hace referencia en el primer cuadro a
continuación son saldos proyectados antes de cualquier ajuste adecuado en su plan de quiebra. Dichos ajustes se muestran en
el segundo cuadro debajo de la proyección.

Mes                  Pagos al Depósito en                           Pago (o pagos) de                    Pago (o pagos) de                     Pago (o pagos ) del                          Saldo Previsto del
                     Garantía                                       impuestos                            Seguros                               Seguro Hipotecario                           Depósito en Garantía
Mes                               Su pago al depósito en garantía                   Pagos de Impuestos                       Pago de seguros
                                                                                                                                               (MIP/PMI)      Pago del seguro hipotecario                   Saido previsto del depósito en garantía



Saldo inicial
Mes                               Su pago al depósito en garantía                   Pagos de Impuestos                       Pago de seguros                  Pago del seguro hipotecario
                                                                                                                                                                                                           $5,229.80
                                                                                                                                                                                                            Saido previsto del depósito en garantía



09/2024
Mes
                                  $783.16
                                  Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                         $0.00
                                                                                                                             Pago de seguros
                                                                                                                                                                   $0.00
                                                                                                                                                              Pago del seguro hipotecario
                                                                                                                                                                                                            $6,012.96
                                                                                                                                                                                                            Saido previsto del depósito en garantía



10/2024
Mes
                                  $783.16
                                  Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                         $0.00
                                                                                                                             Pago de seguros
                                                                                                                                                                   $0.00
                                                                                                                                                              Pago del seguro hipotecario
                                                                                                                                                                                                            $6,796.12
                                                                                                                                                                                                            Saido previsto del depósito en garantía



11/2024
Mes
                                  $783.16
                                  Su pago al depósito en garantía
                                                                                $5,515.96
                                                                                    Pagos de Impuestos
                                                                                                                         $0.00
                                                                                                                             Pago de seguros
                                                                                                                                                                   $0.00
                                                                                                                                                              Pago del seguro hipotecario
                                                                                                                                                                                                           $2,063.32
                                                                                                                                                                                                            Saido previsto del depósito en garantía



12/2024
Mes
                                  $783.16
                                  Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                         $0.00
                                                                                                                             Pago de seguros
                                                                                                                                                                   $0.00
                                                                                                                                                              Pago del seguro hipotecario
                                                                                                                                                                                                            $2,846.48
                                                                                                                                                                                                            Saido previsto del depósito en garantía



01/2025
Mes
                                  $783.16
                                  Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                         $0.00
                                                                                                                             Pago de seguros
                                                                                                                                                                   $0.00
                                                                                                                                                              Pago del seguro hipotecario
                                                                                                                                                                                                            $3,629.64
                                                                                                                                                                                                            Saido previsto del depósito en garantía



02/2025
Mes
                                  $783.16
                                  Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                         $0.00
                                                                                                                             Pago de seguros
                                                                                                                                                                   $0.00
                                                                                                                                                              Pago del seguro hipotecario
                                                                                                                                                                                                            $4,412.80
                                                                                                                                                                                                            Saido previsto del depósito en garantía



03/2025
Mes
                                  $783.16
                                  Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                         $0.00
                                                                                                                             Pago de seguros
                                                                                                                                                                   $0.00
                                                                                                                                                              Pago del seguro hipotecario
                                                                                                                                                                                                            $5,195.96
                                                                                                                                                                                                            Saido previsto del depósito en garantía



04/2025
Mes
                                  $783.16
                                  Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                         $0.00
                                                                                                                             Pago de seguros
                                                                                                                                                                   $0.00
                                                                                                                                                              Pago del seguro hipotecario
                                                                                                                                                                                                            $5,979.12
                                                                                                                                                                                                            Saido previsto del depósito en garantía



05/2025
Mes
                                  $783.16
                                  Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                     $3,882.00
                                                                                                                             Pago de seguros
                                                                                                                                                                   $0.00
                                                                                                                                                              Pago del seguro hipotecario
                                                                                                                                                                                                            $2,880.28
                                                                                                                                                                                                            Saido previsto del depósito en garantía



06/2025
Mes
                                  $783.16
                                  Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                         $0.00
                                                                                                                             Pago de seguros
                                                                                                                                                                   $0.00
                                                                                                                                                              Pago del seguro hipotecario
                                                                                                                                                                                                            $3,663.44
                                                                                                                                                                                                            Saido previsto del depósito en garantía



07/2025
Mes
                                  $783.16
                                  Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                         $0.00
                                                                                                                             Pago de seguros
                                                                                                                                                                   $0.00
                                                                                                                                                              Pago del seguro hipotecario
                                                                                                                                                                                                            $4,446.60
                                                                                                                                                                                                            Saido previsto del depósito en garantía



08/2025
Mes
                                  $783.16
                                  Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                         $0.00
                                                                                                                             Pago de seguros
                                                                                                                                                                   $0.00
                                                                                                                                                              Pago del seguro hipotecario
                                                                                                                                                                                                            $5,229.76
                                                                                                                                                                                                            Saido previsto del depósito en garantía



Saldo final                                                                                                                                                                                                $5,229.76
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Según la revisión de este año, su cuenta de depósito en garantía tiene un excedente potencial de $2,117.23. Esto se
calculó según el saldo mínimo más bajo, el cual está en letras oscuras en la tabla anterior, y los pagos para corregir cantidades
pendientes de pago antes de su presentación de quiebra. Nuestros registros actualmente muestran que esta cantidad es de
$1620.24 y se incluye en el cálculo del saldo mínimo proyectado. Esta evaluación da por sentado que se harán todos los pagos
adeudados conforme a su plan de quiebra, incluidos los pagos hipotecarios programados regularmente luego de su presentación
de quiebra y los pagos para corregir cantidades que vencen en su presentación de quiebra.

Dado que su saldo mínimo proyectado es mayor que el saldo mínimo requerido, su cuenta tiene un excedente
potencial. Sin embargo, el cálculo de su saldo mínimo proyectado da por sentado que usted está al día en el
cumplimiento de los pagos que hayan vencido con posterioridad a su presentación de quiebra y que usted ha
pagado todas las cantidades de depósito en garantía adeudadas correspondientes al período anterior a su
presentación de quiebra. Si usted aún tiene varios meses o años antes de la finalización de su plan del Capítulo 13,
es posible que no tenga un excedente real. Para determinar si usted tiene un excedente real de fondos de depósito
en garantía, Bank of America, N.A. ajustará el posible excedente para incluir cualquier cantidad de depósito en
garantía que no se haya pagado correspondiente al período anterior a su presentación de quiebra o que se adeude
de otro modo en virtud de los términos de su plan del Capítulo 13. Este ajuste es necesario para garantizar que su
saldo actual de la cuenta de depósito en garantía tenga un excedente de fondos. Si su cuenta continúa mostrando
un excedente y se encuentra al día en virtud de los términos de su plan del Capítulo 13, le enviaremos un reembolso
conforme a las leyes vigentes.

El saldo mínimo requerido (el cual a veces también se denomina “colchón”) puede incluir hasta dos meses de pagos
del depósito en garantía (sin incluir su seguro hipotecario) para ayudar a cubrir los aumentos en sus impuestos y el
seguro para propietarios de vivienda. El colchón actual de su cuenta es de $1,566.33.


             Saldo mínimo Proyectado                                           $2,063.32+$1,620.24 = $3,683.56
                Menos
             Saldo Mínimo Requerido                                                                   $1,566.33
             Cantidad del Depósito en Garantía                                                       $2,117.23

Si tiene preguntas, por favor háganoslo saber. Llámenos al 800.669.6607, de lunes a viernes de 8 a. m. a 9 p. m. hora
del este. Puede revisar su cuenta en cualquier momento en www.bankofamerica.com.
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